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Attorney for Plaintiff Bowman

UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

CAROLYN BOWMAN,

No.%-`OO C.\) cBL[ G/
Plajntiff,
FIRST AMENDED COMPLAINT
v. FOR NEGLIGENCE; FALSE
IMPRISONN[ENT; INTENTIONAL
TEEN HELP, a partnership; INFLICTION OF EM()TIONAL
WORLDWIDE ASSOCIATION OF DISTRESS; BREACH OF
SPECIALTY PROGRAMS, a FIDUCIARY DUTY; FRAUD
corporation; RESOURCE
REALIZATIONS, a corporation ; DEMAND FOR IURY TRIAL

R&B BILLING, a corporation; DIXIE
CONTRACT SERVICES, a
corporation; TEEN ESCORT
SERVICES, a corporation; KEN KAY;
ROBERT B. LICHFIELD; KARR
FARNSWORTH; BRENT M. FACER,

Defendants.

 

 

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Cornes now the plaintiff, Carolyn Bowrnan, and alleges as follows:
PARTIES

1. Clayton Bowrnan (Clayton) is the son of Carolyn Bowman and Roger
Bowman. Clayton was enrolled at Paradise Cove from June 1996 to June 1997
while he was a minor. Plaintiff is a citizen of the State of Washington.

2. The Worldwide Association of Specialty Programs is a non-profit
corporation organized under the laws of the State of Utah with its principal
place of business in St. George, Utah, of which Karr Famsworth is the Executive
Director. It is an umbrella organization controlling and regulating all Teen Help
programs. It is the alter ego of each and every other named entity defendant,
being under the control of and responsible to a centralized governing group of
the named individual defendants, among others.

3. Teen Help is a non-profit corporation organized under the laws of the
State of Utah with its principal place of business in St. George, Utah. lt is the
alter ego of each and every other named entity defendant, Robert B. Lichfield
being its general partner, and answers to a centralized governing group of the
named individual defendants lt purports to help desperate parents of at~risl<

teenagers put them in appropriate treatment centers, but, in practice, only refers

 

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them to its own stable of youth camps. It is the defendants' marketing arm to
recruit adolescent inmates for Cross Creek Manor, Paradise Cove, Tranquility
Bay, Casa By The Sea, and other cult camps run by some of the other
defendants

4. Dixie Contract Services is a corporation organized under the laws of
the State of Utah, with its principal place of business in St. George, Utah. lt is
the alter ego of each and every other named defendant, being under the control
of and responsible to a centralized governing group of the named individual
defendants, among others. lt hires and directs so-called escort services to
kidnap adolescent candidates from their homes, often in the middle of the night,
and take them by force to Brightway Hospital for passport procurement before
being transported abroad.

5. Teen Escort Services is a corporation organized under the laws of the
State of Utah, with its principal place of business in St. George, Utah. lt is the
alter ego of each and every other named defendant, being under the control of
and responsible to a centralized governing group of the named individual
defendants, among others. lt hires and directs so-called escort services to
kidnap adolescent candidates from their homes, often in the middle of the night,
and take them by force to Brightway Hospital for passport procurement before
being transported abroad.

6. R & B Billing is a corporation organized under the laws of the State of
Utah, with its principal place of business in St. George, Utah. lt is the alter ego

of each and every other named defendant, being under the control of and

 

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responsible to a centralized governing group of the named individual
defendants, among others. lt bills and collects exorbitant fees charged by the
various Teen Help cult centers by misrepresenting to insurance companies that
the Teen Help programs are either therapeutic or educational depending on the
coverage available.

7. Resource Realizations is a corporation organized under the laws of the
State of Utah, with its principal place of business in St. George, Utah lt is the
alter ego of each and every other named defendant, being under the control of
and responsible to a centralized governing group of the named individual
defendants, among others. lt plans and conducts the behavior modification
seminars for inductees and their parents, which modify the values and impair the
psychological health of both groups

8. Robert B. Lichfield is an owner, partner, shareholder, or otherwise
directs the conduct and activities of each and every named corporate or
partnership defendant He is a citizen of the State of Utah.

9. Karr Farnsworth is an owner, partner, shareholder, or otherwise directs
the conduct and activities of each and every named entity defendant He was,
at all times material, the director of Cross Creek Manor. He is a citizen of the
State of Utah.

lO. Brent M. Facer is an owner, partner, shareholder, or otherwise directs
the conduct and activities of each and every named entity defendant He is a
citizen of the State of Utah,

ll. Ken Kay was, at all time material, the director of Brightway Hospital in

 

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St. George, Utah. He is currently the director of the World Wide Association of
Specialty Programs. He is a citizen of the State of Utah,

12. There exists, and at all times herein mentioned there existed, a unity of
interest and ownership between defendants Lichfield, Farnsworth, Facer, and
Kay, or some of them, on the one hand, and the entity defendants, whether
corporate, partnership, or otherwise styled, on the other hand, such that any
individuality and separateness between defendants Lichfield, Farnsworth, Facer,
and Kay, on the one hand, and the entity defendants, on the other hand, had
ceased, and the entity defendants were and are the alter egos of the defendants
Lichfield, Farnsworth, Facer, and Kay such that one or more of the individual
defendants coordinated, controlled, directed, and oversaw the activities of all of
the entity defendants and operated and profited from them as sole
proprietorships without the requisite independent oversight or accountability
requisite of bona fide entity defendants Adherence to the fiction of the
separate existence of the entity defendants and the named individual
defendants would permit an abuse of the entity privilege and would sanction
fraud and promote injustice by shielding the individual defendants from
accountability to the plaintiff and responsibility for the acts and conduct of the
entity defendants, which are purposeful facades without assets, and thus unable
to respond in damages for wrongdoing or liability.

13. The defendants Does l through X, inclusive, are sued under fictitious
names. Their true names are unknown to the plaintiff and will be added by

amendment when ascertained They are, according to the plaintiff’s information

 

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and belief, jointly and severally liable for the acts and occurrences complained
of.

l4. Each defendant was, at all times material, the agent of each and all of
the other defendants and all defendants conspired together or otherwise acted

in concert in causing the acts and occurrences complained of.

JURISDICTION
15. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331
and 1332(a)(1). The matter in controversy exceeds the sum of Seventy Five

Thousand Dollars, exclusive of interest and costs.

VENUE
16. Venue is appropriate in this Court pursuant to the provisions of 28

U.S.C. § 139l(a) and (c).

FACTS
17. Clayton was experimenting with drugs, and was at loose ends. He
was doing poorly in school. Carolyn and Roger hired the defendants to kidnap
Clayton and induct him into one of the defendants’ rehabilitation programs.
Defendants bodily and forcibly removed Clayton against his will from Las
Vegas, Nevada, Where he thought that he was enjoying a four-day vacation, to
Brightway Hospital in St. George, Utah.

18. Brightway purported to perform a psychological evaluation of

 

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Clayton for placement and customized treatment in the Teen Help program
While posing as a hospital, Brightway Was, in reality, merely a holding cell in
which to keep Paradise Cove inductees while their passports were processed on
an involuntary and expedited basis. At first, Clayton could hardly eat anything
due to the shock of being kidnapped in broad daylight. Finally, seeing that
there was no way out, he began to eat out of sheer hunger. When Clayton's
passport was obtained after two weeks, Defendants forcibly transported him
against his will out of the United States to the lsland of Westem Samoa.

19. Once at Paradise Cove, Defendants took Clayton to a jungle
compound called Le Tiera, surrounded by an 8 foot fence topped by barbed
wire. From 30 yards away, Clayton could hear screaming, yelling and moaning
from those confined in the isolation cells. Bathroom privileges were restricted to
five minutes every hour with six sheets of toilet paper. The slightest infraction
was severely punished Deprivation produced a veneration for food
approaching worship. Water was rationed to 10 gallons a day for sixteen young
men living in humid 100 degree heat.

20. After working his way out of the compound to the beach site,
Clayton began to rebel, and was sent back to Le Tiera dungeon where he was
required to sit cross-legged for twelve hours except for two brief breaks. Later,
Clayton was put in isolation The Samoan guards struck him in the face with
their fists wrapped in towels. They taped his jaw shut with duct tape, hog-tied
him with handcuffs and chains; they held his arms behind him and beat him

about the face and stomach. Later, in response to another infraction, Clayton

 

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was put in isolation for a week without food or water, and taunted by the
Samoans with water which he could not reach or drink. Due to the abuse and
deprivation, Clayton was reduced almost to a skeleton. He was sexually
attacked by some of the Samoan staff when he was in the shower. After several
beating episodes, Clayton was drugged by Dr. Goates, Defendants’ roving
psychiatrist, to quiet him down.

21. After his return, Clayton was so devastated, distraught, and destroyed,
that he had to be hospitalized at Westem States Mental Hospital for treatment,
and still has not recovered his stability, by reason of which he has had to

withdraw from this case.

FIRST CAUSE OF ACTION
(Negligence)

22. Defendants owed Plaintiff a duty to screen Clayton in order to
protect him from induction into a boorish and brutal program whose rigors might
foreseeably injure him. Defendants breached their duty by failing to screen
Clayton out of their program and, to the contrary, by admitting him into a
program which they knew, or should have known, would be detrimental to him.

23. Defendants owed Plaintiff a duty to consult some reputable
psychiatrist to determine whether or not Clayton should be on medication, the
kind and dosage, and to assure that any medication was not over prescribed

24. Defendants owed Plaintiff a duty not to induct Clayton into their

program unless and until they had Clayton’s written informed consent

 

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25. Defendants owed Plaintiff a duty not to take Clayton out of the
United States unless and until they had his written informed consent

26. Defendants breached their duty by inducting Clayton into their
demented program, by failing to engage quality professional help, and by
punishing Clayton as an criminal instead addressing any specific need justifying
his presence at Paradise Cove, by prescribing and over prescribing medication
designed to impair his will instead of treat him for illness, by abducting him into
the program and by illegally removing him from the United States against his will
and without his written consent

27. Defendants' conduct proximately caused Clayton and his mother
grievous personal injury and emotional distress from and after his induction to
date.

28. Defendants' conduct was malicious, wanton, and in reckless disregard
of Clayton’s health, safety and welfare, by reason of which Plaintiff is entitled to
recover punitive damages against them.

WI-IEREFORE, Plaintiff prays for judgment as hereafter stated

SECOND CAUSE OF ACTION
(False lmprisonment)
29. Plaintiff incorporates by this reference paragraphs 1 through 21 as if
stated in full.
30. Defendants and their agents kidnapped Clayton from Clark County,

Nevada against his will and without his consent They transported him across

 

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state borders to Utah against his will and without his consent ln Utah, the
defendants and their agents procured a United States passport against his will
and without his consent Using the illegally procured passport the defendants
and their agents transported Clayton against his will and without his consent
out of the United States to the remote Republic of Samoa in the middle of the
Pacific lsland beyond the reach of civil liberty where he was confined for over a
year until he was released upon his majority.

31. Defendants or some of them confined Clayton in a filthy, shabby,
putrid, pestilential compound on limited food and water without contact with
the outside world In doing so, the defendants falsely and fraudulently abused
the process of the United States by reason of which they deprived Clayton of a
substantial liberty interest without due process of law.

32. Clayton learned upon arrival at Paradise Cove that his parents were
unaware of its purpose and program. He sought at that time to communicate
with them and to leave the program, but defendants or their agents censored his
mail, restrained him from any contact with the outside world, and refused to
permit his return home.

33. Defendants’ imprisonment of Clayton in violation of his rights to due
process of law caused him serious and permanent emotional distress, and
psychological injury.

34. Defendants’ conduct was malicious, wanton and in reckless
disregard of Clayton's health, safety and welfare, by reason of which his mother,

as a bystander, is entitled to recover punitive damages

 

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WHEREFORE, Clayton prays for judgment against Defendants as

hereafter stated

THIRD CAUSE OF ACTION
(lntentional lnfliction of Emotional Distress)

35. Plaintiffs incorporates by this reference paragraphs l through 21 as if
stated in full.

36. Defendants deprived Clayton of nutritious and wholesome food,
proper sanitation, educational opportunities, exposed him to denigrating immoral
and filthy conditions, subjected him to imprisonment attempted to break his will,
inflicted unjust punishment deprived him of legal rights, kept him in isolation,
deprived him of the care, comfort support, and sustenance of his father, all of
which caused Clayton personal injury and mental and emotional distress.

37. Defendants' conduct was in reckless disregard of Plaintiff’s health,
safety and welfare, by reason of which Plaintiff is entitled to recover punitive
damages.

WHEREFORE, Plaintiff prays for judgment against Defendants as

hereafter stated

FOURTH CAUSE OF ACTION
(Breach of Fiduciary Duty)
38. Plaintiff incorporates by this reference paragraphs 1 through 21as if

stated in full.

 

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39. By seeking, and illegally obtaining physical custody of Clayton from
his mother, and thereafter, by placing him into a captive and abusive
environment of their own making, Defendants undertook a fiduciary duty
toward the plaintiff to protect and promote Clayton’s health, safety and
welfare.

40. Defendants, in the manner described above, breached their fiduciary
duty as a maternal surrogate, which proximately caused the plaintiff to sustain
pain, suffering, bodily injury and mental and emotion distress

41. Defendants’ conduct was malicious, wanton and in reckless disregard
of Plaintiff’s trust and of Clayton’s health, safety and welfare, by reason of
which Plaintiff is entitled to recover punitive damages.

Wl-IEREFORE, Plaintiff prays for judgment against Defendants as

hereafter stated

FIFTH CAUSE OF ACTION
(Fraud and Deceit)

42. Plaintiff incorporates by this reference paragraphs 1 through 21 as if
stated in full.

43. As part of a scheme and artifice to defraud, and as a means by which
Defendants could obtain money from Carolyn Bowman, Defendants falsely
advertised in their brochure and on the internet that their Paradise Cove
program was an innovative and effective program for teens who are struggling

in their home, school, or community The brochure pictures an island paradise

 

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with tropical sunsets, verdant waterfalls, clean facilities, and happy youngsters
“in the heart of Polynesia”. lt says nothing about the brutal, sadistic, filthy,
brain washing environment in which Clayton would be confined

44. None of the defendants’ representations was true, but instead all of
the above stated representations were false, and were made to Clayton’s parents
with the intent and for the sole purpose of causing them to pay Defendants
large amounts of money, even though the cost for the services was negligible
and the services themselves were detrimental

45. The excessive amount charged by Defendants for the privilege of
confining, abusing, and warehousing Clayton was fraudulent in that it was both
far in excess of the actual costs incurred for the lack of any treatment provided,
and was fraudulent as Well in advancing the ruse that Defendants were
providing a therapeutic, social, and educational experience approximating in
value the yearly tuition charged

46. Defendants concealed from Carolyn that Clayton was receiving
nothing of value from the program, and was, at worst, being over medicated on
Prosac offset by unknown medications never consented to, bereft of the
clothing bought and supplied by his parents, denied wholesome food, exposed
to raw sewage, hog-tied and kept in isolation boxes for long periods of time; and
brutally mistreated by savages.

47. Defendants made the aforesaid false statements and concealment
knowing them to be untrue. This, they did for the purpose and with the intent

that Clayton’s parents would give Defendants custody and control over

 

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Clayton without his consent and would keep him in the defendants’
confinement until Defendants were willing to release him.

48. Plaintiff reasonably and justifiably relied upon Defendants'
concealment propounded falsities, and misrepresentations of true facts in
entrusting, at great sacrifice, her son to the defendants’ custody.

49. Defendants' knowing and intentional failure to disclose material facts
and their deliberate concealment and misrepresentations of material facts in
order to induce Clayton’s placement with them in Utah and Samoa constitute
acts of fraud and deceit

50. Defendants' conduct was malicious wanton and in reckless disregard
of Carolyn’s trust and of Clayton's health, safety and welfare, by reason of
which Plaintiff is entitled to recover punitive damages

WHEREFORE, Plaintiff pray for judgment as follows:

FIRST CAUSE OF ACTION FOR NEGLIGENCE:

a. Special damages according to proof.

b. General damages according to proof

c. Punitive damages according to proof
SECOND CAUSE OF ACTION FOR FALSE IMPRISONMENT:

a. Special damages according to proof.

b. General damages according to proof.

c. Punitive damages according to proof.
"l`l-l[RD CAUSE OF ACTION FOR lNTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS:

 

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a. Special damages according to proof.
b. General damages according to proof.
c. Punitive damages according to proof.
FOURTH CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY:
a. Special damages according to proof.
b. General damages according to proof.
c. Punitive damages according to proof.
FIFTH CAUSE OF ACTION FOR FRAUD AND DECEIT
a. Special damages according to proof.
b. General damages according to proof.

c. Punitive damages according to proof.

Dated: Apri125, 2001 M

Thomas M. Burton

 

 

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CERTIFICATE OF SERVICE

Tl~]]S IS TO CERTIFY that a true and exact copy of the foregoing FIRST AMENDED

COMPLAINT was served upon the Defendants by placing the same in the United States MaiL

postage prepaid, on the(_M day of May, 2001, to the following:

Fred R. Silvester
Dennis J. Conroy
Spencer Siebers
SILVESTER & CONROY, L.C.
230 South 500 East, Suite 590
Salt Lake City, Utah 84102

 

